Equitable relief similar to that accorded the holder of a mortgage against which the statute of limitations has run (i.e., title will not be quieted in the mortgagor unless the debt is paid, though the mortgage could not be affirmatively enforced) is denied respondent Marine Trust Company of Buffalo, holder of a judgment against which the statute of limitations has run, on two premises, first, that the judgment lien was not voluntarily imposed, and second, by inference or implication that the mortgage lien continues, while the judgment lien does not.
A judgment, with greater finality than a mortgage, determines that an obligation is a debt, hence the voluntary or involuntary nature of the original creation of *Page 350 
the obligation, i.e., tort or contract is of no moment herein. (Spilde v. Johnson, (Ia.) 109 N.W. 1023, 1024; Miller v.Hoover, (Mo.) 97 S.W. 210, 212; Vitale v. Duerbeck, (Mo.)92 S.W.2d 691; Heinl v. Terre Haute, (Ind.) 66 N.E. 450, 452;Laurence v. Martin, 22 Cal. 173, 178; Livingston v.Livingston, (N.Y.) 66 N.E. 123, 61 L.R.A. 800, 93 Am. St. Rep. 600.)
The application of the rule that he who seeks equity must do equity has been applied where a mortgagor sought to quiet title against a mortgage barred by the statute of limitations though it was expressly considered the lien had expired. (Puckhaber v. Henry, (Cal.) 93 P. 114, 115; Graig v.Dinnwiddie, (Cal.) 247 P. 516; Gerken v. Davidson GroceryCo., 50 Idaho 315, 296 P. 192; Provident Mutual Building-LoanAss'n v. Schwertner, (Ariz.) 140 P. 495; Raggio v. Palmtag, (Cal.) 103 P. 312; Bulson v. Moffatt, (Cal.) 161 P. 259;Shimpnes v. Stickney, (Cal.) 28 P.2d 673.) Ergo, that the judgment lien has expired justifies no exception. (Hickey v.Algie, (Cal.) 197 P. 359, 361; Cosper v. Valley Bank, (Ariz.)237 P. 175; Security Trust  Savings Bank v. McClure, (Ariz.)241 P. 515, 517; Nellis v. Minton, (Okla.) 216 P. 147,149.)
The sole essential underlying premise is that equity will not remove a cloud on the title to real estate, occasioned by the owner's failure to pay a valid debt, while the debt remains unpaid. The debt, though unenforceable because of the statute of limitations, continues until paid. (Sterrett v. Sweeney,15 Idaho 416, 423, 98 P. 418; McLeod v. Rogers, 28 Idaho 412,154 P. 970; Anderson v. Ferguson, 56 Idaho 554, 562,57 P.2d 325; Bashor v. Beloit, 20 Idaho 592, 119 P. 55; Nellis v.Minton, supra.) The debt, not the lien, is the compelling prerequisite, upon which the equitable principle operates. In other words, the debt is the substance, the lien is ephemeral. Otherwise an inferior obligation (mortgage) is exalted over a superior debt (judgment). There can be a debt without a lien but there can be no lien without a debt, because the lien is merely to secure or enforce payment, perforce payment of a debt. (17 Rawle C. L., sec. 2, p. 596; Frick v. Hilliard,95 N.C. 117; Hotchkiss v. National *Page 351 City Bank of N.Y., 200 Fed. 287; Phillips v. Atwell, (Fla.)80 So. 180, 181; Marshall v. C. S. Young Const. Co., (Fla.)113 So. 565, 566; Bell v. Hiner, (Ind.) 44 N.E. 576; Mahan v.Bitting, (Vt.) 137 S.E. 889, 890; Branofsky v. Weiss, (Pa.)182 A. 47, 48; Mendenhall v. Burnette, (Kan.) 49 P. 93.) Hence equity should attach to the substance, not the form, in fact it is a familiar maxim. (21 C. J. 204.)
A judgment is the highest form of debt. (Woods v. Locke,49 Idaho 486, 493, 289 P. 610; Bashor v. Beloit, supra; 33 C. J. 1056, sec. 9, note 66 (2); Hutchison v. Reclamation Dist No.1619, (Cal.) 254 P. 606, 611; Adams v. Hachett, 7 Cal. 187,203; Laurence v. Martin, 22 Cal. 173, 178; Stauffer v.Rennick, (Cal.) 15 P. 584; Mayor of City of Anniston v. Hurt, (Ala.) 37 So. 220, 222; Miller v. Hoover, (Mo.) supra; ProbateCourt v. Williams, (R.I.) 73 A. 382; Ambler v. Whipple, (Ill.) 28 N.E. 841, 32 Am. St. Rep. 202; Morse v. Toppan, (Mass.) 3 A. 411; Gray v. Ferraby, 36 Iowa 146, 150;Vitale v. Duerbeck, supra; Buttler v. Boliger, (La.)133 So. 778; Bennett v. Bennett, (N.J.) 49 A. 501; Heinl v. TerreHaute, supra; Barnes v. American Fertilizer Co., (Va.)130 S.E. 902; Chader v. Wilkins, (Ia.) 284 N.W. 183; 30 Am. Jur., p. 896, secs. 144, 145.)
I therefore dissent from the reversal of the portion of the judgment in favor of respondent Marine Trust Company of Buffalo. (Hickey v. Algie, supra; Nellis v. Minton, supra;Cosper v. Valley Bank, supra.) Otherwise I concur.